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PROB 12C
(REV. 12/04)
                                                                                                     FILED
                              UNITED STATES DISTRICT COURT                                        April 04, 2025
                                                                                              CLERK, U.S. DISTRICT COURT
                                                           for                                WESTERN DISTRICT OF TEXAS

                                                                                                            NM
                                                                                           BY: ________________________________
                                          WESTERN DISTRICT OF TEXAS                                                DEPUTY



                  Petition for Warrant or Summons for Offender Under Supervision


   Name of Offender:      Cruz Diosdado Aranda                              Case Number:     5:13-CR-00842-OLG(1)
   Name of Sentencing Judicial Officer:      Honorable Orlando L. Garcia, United States District Judge
   Date of Original Sentence:    November 5, 2015
   Original Offense:     Possession of Firearm or Ammunition by a Convicted Felon, in violation of 18 USC §
                         922(g)(1)
   Original Sentence:    One Hundred Twenty (120) months imprisonment, to be followed by Three (3) years
                         supervised release.
  Type of Supervision: Supervised Release               Date Supervision Commenced:        April 15, 2022
   Assistant U.S. Attorney:     Sarah Wannarka                    Defense Attorney:     Alan Brown

                                            PREVIOUS COURT ACTION

On November 17, 2015, an Amended Judgment was filed correcting a clerical error as to date of offense.

On December 4, 2024, a Probation Form 12B, Request for Modifying Conditions or Term of Supervision with
Consent of the Offender was submitted to the Court requesting a no contact order with Ana Saucedo, due to an
assault charge while they were involved in a romantic relationship and cohabitating. The Court approved the
modification.

                                            PETITIONING THE COURT



☒ To issue a warrant
☐ To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:


 Violation Number        Nature of Noncompliance

           1.            Special Condition: The defendant shall not communicate, or otherwise interact, with
                         Ana Saucedo, either directly or through someone else, without first obtaining the
                         permission of the probation officer.
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       2.               Mandatory Condition No. 1: The defendant shall not commit another federal, state, or
                        local crime during the term of supervision.


       3.               Standard Condition No. 9: The defendant shall not associate with any person engaged
                        in criminal activity and shall not associate with any person convicted of a felony, unless
                        granted permission to do so by the probation officer.

                        According to San Antonio Police Department (SAPD), Case No. 24247983, on November
                        16, 2024, the offender’s girlfriend, Ana Saucedo, contacted police to report an assault
                        (Assault Family/Household Member with previous conviction), 3rd Degree Felony was filed
                        which occurred the day before. The report indicated that she and the offender were involved
                        in an argument, when he grabbed her wrists and threatened to kill her. The reporting officer
                        noted visible bruising on the her wrist. She also reported he threatened to burn her house
                        down during a previous argument. Officers accompanied her to retrieve her personal items
                        from the home and no contact was made with the offender. According to SAPD, the case
                        was not referred to for prosecution as the victim declined to file charges. On December 4,
                        2024, the Court was notified of the violation.

                        On March 21, 2025, the San Antonio Police Department, Case No. 25056517, Indecency
                        with a Child Exposes, 3rd Degree Felony was filed after the minor victim made an outcry to
                        her mother, Ana Saucedo. According to the incident report, there were several incidents
                        where Mr. Aranda exposed his genitalia to the victim. Additionally, Mr. Aranda also forced
                        himself into the locked bathroom while the minor victim was in the shower. According to
                        the reporting officer, Ms. Saucedo admitted that she and Mr. Aranda were in a romantic
                        relationship, and he was living at her residence. The case has been referred to the Special
                        Victim Unit for further investigation.

                        On March 31, 2025, the San Antonio Police Department, Case No. 25063719 for Assault
                        Threat-Family, was filed after police were dispatched and contacted Ana Saucedo.
                        According to the report, Mr. Aranda arrived at Ms. Saucedo’s place of work and attempted
                        to open her car door. He hit the driver’s side window with a close fist and yelled “I’m going
                        to get you ho!.” Apparently, the victim captures part of the confrontation on video. Police
                        were able to view the video which depicted Mr. Aranda following the victim’s vehicle closely
                        and pulling alongside her vehicle. Mr. Aranda apparently fled the area after he noticed the
                        victim recording the incident.

                        It should be noted that Mr. Aranda has a “no contact” order with Ms. Saucedo. Additionally,
                        he did not receive permission to associate with Ana Saucedo. Records indicate that Ms.
                        Saucedo was previously supervised by the Western District of Texas, San Antonio Division.
                        Their relationship was only revealed at the time the assault charge was filed.


       4.               Standard Condition No. 6: The defendant shall notify the probation officer at least ten
                        days prior to any changes in residence or employment.

                        According to Ms. Sauceda, she and Mr. Aranda were cohabiting at her residence, which was
                        not his approved address. Furthermore, he was not granted permission to communicate or
                        interact with Ms. Saucedo.
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        5.               Mandatory Condition No. 2: The defendant shall not unlawfully possess a controlled
                         substance.


        6.               Mandatory Condition No. 3: The defendant shall refrain from any unlawful use of a
                         controlled substance. The defendant shall submit to one drug test within 15 days of
                         release on probation or supervised release and at least two periodic drug tests,
                         thereafter (as determined by the court) for use of a controlled substance, but the
                         condition stated in this paragraph may be ameliorated or suspended by the court if the
                         defendant’s presentence report or other reliable sentencing information indicates low
                         risk of future substance abuse by the defendant.

                         On December 4, 2024, Mr. Aranda tested positive for marijuana. On December 11, 2024,
                         when confronted with positive urinalysis results, he admitted to illegal drug use and signed
                         an admission form. Subsequently, he was referred to participate in an outpatient substance
                         abuse treatment.


U.S. Probation Officer Recommendation: On April 15, 2022, Mr. Aranda commenced his term of supervised release.
He is a Criminal History Category III. His criminal history includes drug related charges, several assault charges,
aggravated kidnapping and tampering with witnesses. His drug history includes marijuana and occasional consumption
of alcohol. Atter testing positive for marijuana, he was referred to outpatient substance abuse treatment at Lifetime
Treatment Services.

Unfortunately, Mr. Aranda continues to exhibit high risk behaviors as evidenced by ongoing criminal conduct in
threatening violence and aggressive behaviors toward his victims. The United States Probation Office respectfully
requests a warrant be issued and his term of supervised release be revoked.

☒ The term of supervision should be
    ☒ revoked. (Maximum penalty: 2         years imprisonment; 3         years supervised release;
                and payment of any unsatisfied monetary sanction previously imposed)

    ☐ extended for __ years, for a total term of __ years.

    The conditions of supervision should be modified as follows:
☐



Approved:                                                               Respectfully submitted,




Stephen L. Gray                                                         Sandra G. Ross
Supervising U.S. Probation Officer                                      U.S. Probation Officer
Telephone: (210) 472-6590, Ext. 5331                                    Telephone: (210) 472-6590, Ext. 5386
                                                                        Date: April 2, 2025
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cc:   Sarah Wannarka
      Chief Assistant U.S. Attorney

      Brenda Trejo-Olivarri
      Assistant Deputy Chief U.S. Probation Officer



 THE COURT ORDERS:
 ☐ No action.
 ☐ The issuance of a warrant.
 ☐ The issuance of a summons.
 ☐ Other



                                                                         Honorable Orlando L. Garcia
                                                                             U.S. District Judge

                                                                                04/04/2025
                                                                                    Date
